Case 1:22-cv-01597-CJB         Document 301        Filed 02/24/25      Page 1 of 8 PageID #: 6467




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  SCALE BIOSCIENCES, INC.,

                 and

  ROCHE SEQUENCING SOLUTIONS, INC.,

                 Plaintiffs,
                                                    Civil Action No. 1:22-CV-01597-CJB
  v.

  PARSE BIOSCIENCES, INC.,

                 Defendant.

  PARSE BIOSCIENCES, INC.,

                  and

  UNIVERSITY OF WASHINGTON,

                 Counterclaim Plaintiffs,
  v.

  SCALE BIOSCIENCES, INC.,

                 Counterclaim Defendant.


           PLAINTIFF SCALE BIOSCIENCES, INC.’S CONCISE STATEMENT
        OF UNDISPUTED FACTS IN SUPPORT OF ITS MOTION FOR SUMMARY
       JUDGMENT OF NON-INFRINGEMENT OF THE ASSERTED PARSE CLAIMS

        Pursuant to paragraph 17(c) of the Amended Scheduling Order (D.I. 52), Plaintiff Scale

 Biosciences, Inc. (“ScaleBio”) hereby provides the following Concise Statement of Undisputed

 Facts in Support of its Motion for Summary Judgment of Non-Infringement of the Asserted

 Parse Claims, filed herewith. All cited exhibits are identified in the declarations of Dr. Alex

 Shalek (“Shalek Dec.”) and attorney Emma Frank (“Frank Dec.”), also filed herewith.
Case 1:22-cv-01597-CJB         Document 301         Filed 02/24/25     Page 2 of 8 PageID #: 6468




 I.     The Asserted Parse Claims

        C1.     Counterclaim Plaintiffs Parse Biosciences, Inc. and the University of Washington

 (collectively, “Parse”) allege that ScaleBio infringes claims 1, 5, 12, 17, 20, and 24 of U.S.

 Patent No. 10,900,065, claims 1, 5, 6, 14, and 22 of U.S. Patent No. 11,168,355, and claims 1, 5,

 6, 7, 14, and 22 of U.S. Patent No. 11,427,856 (i.e., the “Asserted Parse Claims” in the “Asserted

 Parse Patents”). Counterclaims (D.I. 71) at 39-66 (Counts I-III).

        C2.     The disclosures of the specifications of the Asserted Parse Patents are

 substantively identical. See Ex. 5 (’065 Patent); Ex. 6 (’355 Patent); Ex. 7 (’856 Patent).

        C3.     Claim 1 of the application that issued as the ’065 Patent originally recited:




 Ex. 20 (’065 FH) at PARSE0000075 (original claim 1).

        C4.     The original claims were rejected. Ex. 20 (’065 FH) at PARSE0000204-18.

        C5.     The applicant amended original claim 1, as illustrated below in part, where:




 Ex. 20 (’065 FH) at PARSE0000229-30 (bracketed/stricken text removed, underlines added)




                                                  1
Case 1:22-cv-01597-CJB         Document 301        Filed 02/24/25      Page 3 of 8 PageID #: 6469




        C6.     The amended claims were rejected. Ex. 20 (’065 FH) at PARSE0000812-35,

 PARSE0000925-41.

        C7.     The applicant then further amended claim 1, as illustrated below in part:




 Ex. 20 (’065 FH) at PARSE0000954-55 (bracketed/stricken text removed, underlines added).

        C8.     With that August 2, 2020 amendment, the applicant “clearly and repeatedly stated

 that the cell-specific labels described in the patent’s claims were ‘the product of multiple rounds

 of appending well-specific tags to cDNAs within each cell … and emphasized that such tagging

 occurs with regard to ‘intact cells’ or ‘unlysed cells.’” Oral Order on Claim Construction (D.I.

 241); Ex. 20 (’065 FH) at PARSE0000964-70.

        C9.     On December 3, 2020, the USPTO allowed independent claim 1, as amended on

 August 4, 2020, which issued as independent claim 1 of the ’065 Patent. Ex. 20 (’065 FH) at

 PARSE0000989-95; Ex. 5 (’065 Patent) at 29:44-31:3.

        C10.    On September 5, 2024, the Court construed the preamble of claim 1 in each of the

 Asserted Parse Patents as requiring “[a] method of generating labels that identify the cell of

 origin of RNA molecules, where the cell-specific labels are the product of multiple rounds of

 appending well-specific tags to cDNAs within intact cells.” Oral Order on Claim Construction



                                                  2
Case 1:22-cv-01597-CJB         Document 301        Filed 02/24/25      Page 4 of 8 PageID #: 6470




 (D.I. 241); see Stipulation (D.I. 294-1) at 4 (“[T]he parties understand that the Court construed

 the preambles of the claims of the Asserted Parse Patents … to be limiting.”).

        C11.    The parties agreed that step (i) of claim 1 in each of the Asserted Parse Patents

 means “coupling the secondary nucleic acid tags that were provided in step (h) to the primary

 nucleic acid-tagged cDNA molecules that were produced in step (e).” Amended Joint Claim

 Construction Chart (D.I. 108-1) at 15.

 II.    The Accused ScaleBio Products

        C12.    Parse alleges that the use of various versions of the following products and

 services infringe one or more of the Asserted Parse Claims: ScaleBio’s Single Cell RNA

 Sequencing Kits, ScaleBio’s CRISPR Guide Enrichment Kits, ScaleBio’s Extended Throughput

 Kits, ScaleBio’s Single-Cell Sequencing Services, ScaleBio’s ScalePlex Fixation Kit, ScaleBio’s

 Sample Fixation Kit, and ScaleBio Seq Suite Data Analysis (“Accused ScaleBio Products”). Ex.

 22 (Satija Op. Rep.) ¶¶ 36-38; see Counterclaims (D.I. 71) at 39-66 (Counts I-III).

        C13.    Use of the Accused ScaleBio Products involves a 3-level combinatorial indexing

 workflow with a fixation step and then three “Split” steps, as illustrated in the graphic below:




 Ex. 21 (ScaleBio Manual) at SCALEBIO0160909; Ex. 22 (Satija Op. Rep.) ¶¶ 45, 83, 85, 93, 96,

 101, 105, 113, 117, 167, 384, 601; Shalek Dec. ¶¶ 16-17.

        C14.    The graphic above illustrates the four main steps of the ScaleBio workflow: a

 fixation step followed by three “Split” steps that each includes an “Indexed” reaction. Each

                                                  3
Case 1:22-cv-01597-CJB         Document 301        Filed 02/24/25      Page 5 of 8 PageID #: 6471




 arrow between the steps represents a combining step where cells are pooled before moving to the

 next “Split” step. Ex. 21 (ScaleBio Manual) at SCALEBIO0160909; Ex. 22 (Satija Op. Rep.) ¶

 46; Shalek Dec. ¶ 18.

        A.      Fixation

        C15.    During the fixation step, cells are fixed and permeabilized to enable reagents to

 enter the cell, allowing each cell to serve as a reaction compartment for subsequent steps. Ex. 21

 (ScaleBio Manual) at SCALEBIO0160908, SCALEBIO0160910; Ex. 22 (Satija Op. Rep.) ¶¶ 46,

 49-52; Shalek Dec. ¶ 19.

        B.      Split 1

        C16.    During the “Split 1” step, the cells are divided into individual aliquots across a

 96-well plate, where a reverse transcription reaction generates cDNA using a reverse

 transcription oligo primer (“RT oligo”) that comprises a reverse transcription barcode (“RT

 Barcode”). Ex. 21 (ScaleBio Manual) at SCALEBIO0160910, SCALEBIO0160913-16; Ex. 22

 (Satija Op. Rep.) ¶¶ 46, 53-54, 187, 403, 621; Shalek Dec. ¶ 20.

        C17.    Reverse transcription synthesizes a sequence of DNA that is complementary to

 the RNA sequence. Nucleic acids, including DNA and RNA, are biopolymers, and are linear

 chains of individual building blocks known as “nucleotides.” The result of reverse transcription

 is a DNA molecule that is called “complementary DNA” (cDNA). Ex. 21 (ScaleBio Manual) at

 SCALEBIO0160910; Ex. 23 (Satija Reb. Rep.) ¶ 43, 44, 60; Ex. 25 (Kornberg) at 4 (“The two

 kinds of nucleic acid—the ribonucleic acids, RNA, and the deoxyribonucleic acids, DNA—are

 polymers of nucleotides.”); Ex. 26 (Darnell 1990) at 66 (“Cells have two closely related

 information-carrying molecules: deoxyribonucleic acid (DNA) and ribonucleic acid (RNA). …

 DNA and RNA are linear polymers.”), 44 (Figure 2-1: “Nucleic acids, also linear biopolymers,

 are formed from four monomers termed nucleotides….”) ; Ex. 28 (Alberts) at 70 (“The nucleic

                                                  4
Case 1:22-cv-01597-CJB         Document 301         Filed 02/24/25     Page 6 of 8 PageID #: 6472




 acids (DNA and RNA) … are all polymers….”), 100 (“Nucleotides are the subunits of the

 nucleic acids.”); Shalek Dec. ¶¶ 21, 59.

        C18.    Once cells have been distributed into wells, the RT oligo reverse transcription

 primers enter through the permeabilized membranes and are directly exposed to the cell’s RNA

 transcripts. The poly-T sequence of an RT oligo hybridizes to a poly-A sequence of an RNA

 transcript. During reverse transcription, the hybridized RT oligo sequence is extended with

 nucleotides that are complementary to the RNA sequence. Ex. 21 (ScaleBio Manual) at

 SCALEBIO0160910; Ex. 22 (Satija Op. Rep.) ¶ 60; Shalek Dec. ¶ 22.

        C19.    Reverse transcription extends RT oligos in a template-dependent manner using a

 polymerase. The RT oligo primer hybridizes to the poly-A sequence of an RNA transcript.

 Reverse transcription uses a polymerase enzyme called reverse transcriptase. Reverse

 transcriptase has RNA-dependent DNA polymerase activity, meaning that it can synthesize DNA

 that is complementary to the existing RNA (“cDNA”). The enzyme will use its DNA

 polymerase activity to synthesize cDNA by adding nucleotide bases, one at a time, to the 3’ end

 of the RT oligo that are complementary to the RNA nucleotide sequence. Ex. 21 (ScaleBio

 Manual) at SCALEBIO0160910; Ex. 22 (Satija Op. Rep.) ¶¶ 188, 200, 201, 404, 416, 417, 622,

 634, 635; Shalek Dec. ¶ 23.

        C20.    After the “Split 1” step, the cells from each well are collected and pooled into a

 single suspension. Ex. 21 (ScaleBio Manual) at SCALEBIO0160910, SCALEBIO0160916-17;

 Ex. 22 (Satija Op. Rep.) ¶ 62; Shalek Dec. ¶ 24.

        C.      Split 2

        C21.    During the “Split 2” step, the pooled cells are randomly divided across a 384-well

 plate, where the cDNA is ligated to a ligation adaptor (“Ligation oligo”) that comprises a



                                                    5
Case 1:22-cv-01597-CJB           Document 301     Filed 02/24/25      Page 7 of 8 PageID #: 6473




 barcode (“Ligation Barcode”). Ex. 21 (ScaleBio Manual) at SCALEBIO0160910-11,

 SCALEBIO0160918-20; Ex. 22 (Satija Op. Rep.) ¶¶ 46, 63-70; Shalek Dec. ¶ 25.

        C22.   After the “Split 2” step, the cells are pooled into a single suspension. Ex. 21

 (ScaleBio Manual) at SCALEBIO0160910-11, SCALEBIO0160920-21; Ex. 22 (Satija Op. Rep.)

 ¶ 71; Shalek Dec. ¶ 26.

        D.     Split 3

        C23.   During the “Split 3” step, the cells are randomly divided across a 96-well plate, in

 which Second Strand Synthesis occurs, the cells are lysed, a Tagmentation reaction occurs, and

 then an Indexed PCR reaction occurs. Ex. 21 (ScaleBio Manual) at SCALEBIO0160910-11,

 SCALEBIO0160922-28; Ex. 22 (Satija Op. Rep.) ¶¶ 46, 72-73, 76; Shalek Dec. ¶ 27.

        C24.   Once cells have been distributed into wells, and a Second Strand Synthesis

 reaction has occurred, the cells are then lysed, which breaks down the cell membrane to release

 the cDNA molecules from the cells. Ex. 21 (ScaleBio Manual) at SCALEBIO0160910-11,

 SCALEBIO0160923-24; Ex. 22 (Satija Op. Rep.) ¶¶ 74-76; Shalek Dec. ¶ 28.

        C25.   Following cell lysis, the cDNA molecules in solution are subjected to the

 Tagmentation reaction, which simultaneously fragments the cDNA molecules (i.e., removes a

 portion of the original cDNA molecules) and attaches additional DNA sequences (i.e., adds new

 DNA sequences to the fragment of the cDNA molecules) using a transposase enzyme. Ex. 21

 (ScaleBio Manual) at SCALEBIO0160910-11, SCALEBIO0160925-26; Ex. 22 (Satija Op.

 Rep.) ¶ 77; Shalek Dec. ¶ 29.

        C26.   Following cell lysis and the Tagmentation reaction, the Indexed PCR

 amplification reaction occurs using PCR primers that comprise a barcode (“PCR Barcode”). Ex.

 21 (ScaleBio Manual) at SCALEBIO0160911-12, SCALEBIO0160927-28; Ex. 22 (Satija Op.

 Rep.) ¶¶ 78-79; Shalek Dec. ¶ 30.
                                                 6
Case 1:22-cv-01597-CJB   Document 301   Filed 02/24/25      Page 8 of 8 PageID #: 6474




                                        /s/ Sara M. Metzler
 OF COUNSEL:                            Kelly E. Farnan (#4395)
                                        Sara M. Metzler (#6509)
 Stephen S. Rabinowitz                  RICHARDS, LAYTON, & FINGER, P.A.
 srabinowitz@wolfgreenfield.com         920 North King Street
 WOLF, GREENFIELD, & SACKS, P.C.        One Rodney Square
 605 Third Avenue                       Wilmington, DE 19801
 New York, NY 10158                     302-651-7700
 212.697.7890                           farnan@rlf.com
                                        metzler@rlf.com
 Chelsea A. Loughran
 cloughran@wolfgreenfield.com           Counsel for Plaintiff Scale Biosciences, Inc.
 Stuart V.C. Duncan Smith
 sduncansmith@wolfgreenfield.com        Dated: February 24, 2025
 Emma L. Frank
 efrank@wolfgreenfield.com
 Arden E. Bonzo
 abonzo@wolfgreenfield.com
 WOLF, GREENFIELD, & SACKS, P.C.
 600 Atlantic Avenue
 Boston, MA 02210
 617.646.8000




                                        7
